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                IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A       §    CIVIL ACTION 6:20-cv-00571-ADA
BRAZOS LICENSING AND              §    CIVIL ACTION 6:20-cv-00578-ADA
DEVELOPMENT,                      §    CIVIL ACTION 6:20-cv-00583-ADA
          Plaintiff,              §    CIVIL ACTION 6:20-cv-00584-ADA
                                  §
v.                                §
                                  §
GOOGLE LLC,                       §
         Defendant.               §



          PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF
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Exhibit Description

  A     Wikipedia, Continuous Wave Radar,
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        wave_radar (archived Apr. 18, 2012)

  B     Federation of American Scientists, ES310: Introduction to Naval Weapons Engineering
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       Plaintiff WSOU Investments, LLC d/b/a Brazos License and Development (“WSOU”)

submits the following Opening Claim Construction Brief pursuant to the Orders Governing

Proceedings and Scheduling Orders in the above-listed cases.

I.     LEGAL STANDARDS

       A.      General Claim Construction Principles

       Generally, claim terms are given their plain and ordinary meaning. Phillips v. AWH Corp.,

415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc); accord Home Diagnostics, Inc. v. LifeScan, Inc.,

381 F.3d 1352, 1355 (Fed. Cir. 2004) (citations and quotations omitted) (“[N]ormal rules of usage

create a ‘heavy presumption’ that claim terms carry their accustomed meaning in the relevant

community at the relevant time.”). The plain and ordinary meaning of a term is the “meaning that

the term would have to a person of ordinary skill in the art in question at the time of the invention.”

Philips, 415 F.3d at 1313.

       “‘Although the specification may aid the court in interpreting the meaning of disputed claim

language, particular embodiments and examples appearing in the specification will not generally

be read into the claims.’” Comark Commc'ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir.

1998) (quoting Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)).

In particular, “it is improper to read limitations from a preferred embodiment described in the

specification—even if it is the only embodiment—into the claims absent a clear indication in the

intrinsic record that the patentee intended the claims to be so limited.” Liebel-Flarsheim Co. v.

Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004).

       When construing claim terms, courts may also consult extrinsic evidence, including

dictionaries. See Phillips, 415 F.3d at 1319. But extrinsic evidence is “‘less significant than the

intrinsic record in determining the legally operative meaning of claim language.’” Id., 415 F.3d at


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1317 (quoting C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 862 (Fed. Cir. 2004)). Extrinsic

evidence should only be used to help the court come to the proper understanding of the claims; the

ultimate construction given to the claims should be grounded in the intrinsic evidence. Vitronics

Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1584 (Fed. Cir. 1996); Mangosoft, Inc. v. Oracle Corp.,

525 F.3d 1327, 1329-30 (Fed. Cir. 2008); Old Town Canoe Co. v. Confluence Holdings Corp., 448

F.3d 1309, 1316 (Fed. Cir. 2006).

       The “only two exceptions to [the] general rule” that claim terms are construed according to

their plain and ordinary meaning are when the patentee (1) acts as his/her own lexicographer or (2)

disavows the full scope of the claim term either in the specification or during prosecution. Thorner

v. Sony Computer Entm't Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). To act as his/her own

lexicographer, the patentee must “clearly set forth a definition of the disputed claim term,” and

“clearly express an intent to define the term.” Id. To disavow the full scope of a claim term, the

patentee's statements in the specification or prosecution history must represent “a clear disavowal

of claim scope.” Id. at 1366. Accordingly, when “an applicant's statements are amenable to multiple

reasonable interpretations, they cannot be deemed clear and unmistakable.” 3M Innovative Props.

Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir. 2013).

       B.      Means-Plus-Function Claiming

       A patent claim may be expressed using functional language. See 36 U.S.C. § 112(f);

Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1347–49 (Fed. Cir. 2015).The lack of means-

plus-function language creates a presumption that the term is not a means-plus-function term.

means-plus-function term. Diebold Nixdorf, Inc. v. Int'l Trade Comm'n, 899 F.3d 1291, 1298 (Fed.

Cir. 2018). In order to overcome this presumption, a party must demonstrate that “the claim term




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fails to recite sufficiently definite structure or else recites function without reciting sufficient

structure for performing that function.” Id.

       C.      Indefiniteness

       The Patent Act requires claims to particularly point out and distinctly claim the subject

matter regarded as the inventions. 35 U.S.C. § 112, ¶ 2. To satisfy this requirement, the claim must

be read in light of the intrinsic evidence to determine whether it informs one of skill in the art at the

time of the invention “about the scope of the invention with reasonable certainty.” Nautilus, Inc. v.

Biosig Instruments, Inc., 572 U.S. 898, 910-11 (2014). To establish that a claim is indefinite, a

patent challenger must prove indefiniteness by clear and convincing evidence. Sonix Tech. Co. v.

Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017).

       In the context of a claim governed by 35 U.S.C. § 112, 6, the claim is indefinite if the claim

fails to disclose adequate corresponding structure to perform the claimed functions. Williamson,

792 F.3d at 1351–52. The disclosure is inadequate when one of ordinary skill in the art “would be

unable to recognize the structure in the specification and associate it with the corresponding

function in the claim.” Id. at 1352. Computer-implemented means-plus-function claims are

indefinite unless the specification discloses an algorithm to perform the function associated with

the limitation. Noah Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1319 (Fed. Cir. 2012)




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II.    U.S. PATENT NO. 7,777,728 (CASE NO. 6:20-CV-00583-ADA)

       A.      Disputed Term

              1.     “tap direction” (Claims 1, 11, 16)

       WSOU’s Proposed Construction                      Google’s Proposed Construction
 Plain and ordinary meaning                       tap direction that extends between the first tap
                                                  position and a second tap position

       The term “tap direction” requires no construction for the following reasons.

       First, Google does not attempt to construe the term “tap direction” itself but instead adds

extra limitations that were not selected by the patentee in drafting the claims. Adding limitations

neither required by claim terms nor unambiguously required by either the specification or the

prosecution history of a patent is impermissible. See, e.g., Cont’l Circuits LLC v. Intel Corp., 915

F.3d 788, 796–97 (Fed. Cir.), cert. denied, 140 S. Ct. 648 (2019); Dayco Prods., Inc. v. Total

Containment, Inc., 258 F.3d 1317, 1327 (Fed. Cir. 2001).

       Second, Google’s proposed construction conflicts with the surrounding claim language.

Claim 1, for instance, recites “defining a candidate area that has a configuration that is dependent

upon a tap direction that extends between the first position and a second position, wherein the

second position is a position of a previously detected touch of a second key of the touch sensitive

display.” The italicized claim language in the previous sentence is identical except that Google

attempts to convert “first position” and “second position” to “first tap position” and “second tap

position,” respectively. Claim 1 recites that the “second position” is “a position of a previously

detected touch of a second key of the touch sensitive display.” Indeed, Google’s newly-created

phrases—“first tap position,” “second tap position,” and even “tap position”—are not recited in the

claims and do not appear in the specification. The Court should give effect to the terms chosen by

the patentee; and the Court should reject Google’s proposed construction for the “tap direction”


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terms as deviating from the plain and ordinary meaning, conflicting with the intrinsic evidence, and

erroneously rewriting the claims. See, e.g., K-2 Corp. v. Salomon S.A., 191 F.3d 1356, 1364 (Fed.

Cir. 1999) (“Courts do not rewrite claims; instead, we give effect to the terms chosen by the

patentee.”); Tex. Instruments, Inc. v. U.S. Int’l Trade Comm’n, 988 F.2d 1165, 1171 (Fed. Cir. 1993)

(“[C]ourts can neither broaden nor narrow claims to give the patentee something different than what

he has set forth.”).

        Third, removing the improper word “tap” is removed before “position” in Google’s

construction, the remainder of Google’s construction would render the remainder of the surrounding

claim language superfluous. As noted above, claim recites “a tap direction that extends between

the first position and a second position.” The underlined language in Google’s construction “tap

direction that extends between the first tap position and a second tap position” would render the

claim language superfluous. is no need to define “tap direction” with other surrounding claim

language. Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1410 (Fed. Cir. 2004)

(“interpretations that render some portion of the claim language superfluous are disfavored.”).

III.    U.S. PATENT NO. 7,817,585 (CASE NO. 6:20-CV-00571-ADA)

        Neither party currently contends that any terms of the ‘585 patent require construction.

IV.     U.S. PATENT NO. 8,803,697 (CASE NO. 6:20-CV-00584-ADA)

        Neither party currently contends that any terms of the ‘697 patent require construction.




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V.     U.S. PATENT NO. 9,335,825 (CASE NO. 6:20-CV-00578-ADA)

       A.       Disputed Term

               1.     “continuous wave doppler radar” (Claims 1 and 19)

       WSOU’s Proposed Construction                       Google’s Proposed Construction
 Plain and ordinary meaning                        a Doppler radar that emits an uninterrupted
                                                   electromagnetic signal

       The term “continuous wave doppler radar” requires no construction for the following

reasons.

       First, as an initial matter, Google’s inclusion of the phrase “Doppler radar” it its proposed

construction is the same language that appears in a portion of the claim itself. The parties thus agree

that the plain and ordinary meaning of “doppler radar” should govern.

       Second, Google effectively proposes that the claim language “continuous wave” be

construed as something that “emits an uninterrupted electromagnetic signal.” Google’s proposed

construction conflicts with the intrinsic evidence. Namely, both the specification and claims lack

any reference to the word “uninterrupted” or “interrupted” (or any form of those words). Rather,

the specification first introduces the generic concept of a “Doppler radar detector.” ’825 patent at

4:19. And then the specification describes two types of Doppler radar detectors: continuous wave

and pulse. Id. at 4:23-24 (“The Doppler radar does not have to be on continuously and may be

pulsed to save power.”) Therefore, distinction is between “continuous wave” and “pulse,” not the

concept of “uninterrupted” as Google contends.

       Third, while it is not entirely clear what Google intends by “uninterrupted,” if the Court

were to adopt Google’s construction, it could be misapplied to carve out one particular type of

“continuous wave” doppler radar that is described in the specification—namely, the “Frequency

Modulated Continuous Wave” (FMCW) where the “time signature” may have a “period variation


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in frequency.” Id. at 4:33-36 (“The time signature may, for example, be … a periodic variation in

frequency (Frequency Modulated Continuous wave).”) The art recognizes FMCW as a subtype of

continuous       wave        radars.      Wikipedia,        Continuous        Wave        Radar,

https://web.archive.org/web/20120418124039/http://en.wikipedia.org:80/wiki/Continuous-

wave_radar (archived Apr. 18, 2012) (Ex. A) (listing Frequency Modulated Continuous Wave radar

as a subtype of Continuous Wave Radar); Federation of American Scientists, ES310: Introduction

to Naval Weapons Engineering Course Syllabus, Lesson 10: Continuous Wave Radar,

https://web.archive.org/web/20091227095356/https://fas.org/man/dod-

101/navy/docs/es310/cwradar/cwradar.htm (archived Dec. 27, 2009) (Ex. B) (same).listing

Frequency Modulated Continuous Wave radar as a subtype of Continuous Wave Radar). 1




1
 To be clear, WSOU does not contend that the cited extrinsic evidence should define or
otherwise limit the meaning of “continuous wave doppler radar.” Both pieces of extrinsic
evidence are merely cited as evidence of how Google’s construction fails to encompass the full
scope of the plain and ordinary meaning.
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               2.      “at least one memory and the computer program code are configured,
                       with the at least one processor, to cause the apparatus to at least:
                       detect that an application is being started on the apparatus;
                       in response to the application being started on the apparatus, turn on a
                       continuous wave doppler radar at the apparatus” (Claim 1)

        WSOU’s Proposed Construction                         Google’s Proposed Construction
 Plain and ordinary meaning. 35 U.S.C. § 112, This term is subject to means-plus-function
 ¶6 does not apply.                           treatment under 35 U.S.C. § 112, ¶ 6.

                                                      Function: detect that an application is being
                                                      started on the apparatus; in response to the
                                                      application being started on the apparatus, turn
                                                      on a continuous wave doppler radar at the
                                                      apparatus

                                                      Structure: none (indefinite).

        The term above-listed term requires no construction for the following reasons.

        First, lack of means-plus-function language creates a presumption that the term is not a means-

plus-function term. Diebold, 899 F.3d at 1298. In order to overcome this presumption, Google will need

to demonstrate that “the claim term fails to recite sufficiently definite structure or else recites function

without reciting sufficient structure for performing that function.” Id.

        Second, Google cannot overcome the presumption because the claim itself recites sufficient

structure, namely “at least one memory and the computer program code are configured, with at least

one processor, to cause the apparatus.” See LG Electronics, Inc. v. Bizcom Electronics, Inc., 453

F.3d 1364, 1372 (Fed. Cir. 2006), cert. granted, 128 S. Ct. 28 (U.S. 2007) (ruling that term “control

unit” in a claim limitation reciting “a control unit for controlling the communication unit, wherein

the control unit comprises a [central processing unit (‘CPU’)] and a partitioned memory system”

was not a means-plus-function limitation) rev’d on other grounds sub nom. In LG, the Federal

Circuit held that the presumption was not overcome because the “claim itself provides sufficient

structure, namely ‘a CPU and a partitioned memory system,’ for performing the stated function,


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‘controlling the communication unit.’” Here, similar to LG, the claim itself provides sufficient

structure including memory and a processor. See id.

       Third, the term “program code” connotes specific structure in view of the detailed functional

tasks recited in the body of the claim that the code had to accomplish. See Virginia Innovation Scis.,

Inc. v. Amazon.com, Inc., 4:18-CV-474, 2019 WL 4259020, at *30-32 (E.D. Tex. Sept. 9, 2019). In

Virginia Innovative, the district court found that the presumption was not overcome where the claim

language recited “a memory configured to store program code that includes instructions executable

by said processor, said instructions comprising ….[reciting over a half dozen specific functional

tasks].” Here, just as in Virginia Innovative, the claim language recites structure (e.g., the memory,

program code, and processor) that then performs a specific set of functional tasks (e.g., the six

functional tasks recited after “to cause the apparatus to at least”).

       Fourth, to the extent the preamble invokes § 112, ¶6 (WSOU contends that it does not),

Google is improperly identifying the function by combining two separate elements that the

apparatus performs. This is evident from claim 1 as formatted, the relevant portion of which is

reproduced below:




’825 patent at 10:29-41.

The element “detect that an application is being started on the apparatus” is recited separately from

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the next element that starts “in response to the application being started on the apparatus, turn on a

continuous wave doppler wave radar at the apparatus and transmit radio signals that comprise the

continuous wave doppler radar …” Google has not explained why it has arbitrarily combined these

two elements and also ignores that language “and transmit radio signals that comprise the

continuous wave doppler radar…” Nor has Google explained why in identifying this element,

Google has omitted the colon between “the apparatus to at least” and “detect that an application is

being started….” WSOU has listed the term above as recited in claim 1.




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                                CERTIFICATE OF SERVICE
       A true and correct copy of the foregoing instrument was served or delivered electronically
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2021.
                                            /s/ James L. Etheridge
                                            James L. Etheridge



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